                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION
                                  1:06CR43


UNITED STATES OF AMERICA,                          )
                                                   )
Vs.                                                )             ORDER
                                                   )
JENNIFER MARIE EVERSOLE,                           )
                                                   )
                 Defendant.                        )
__________________________________                 )


       THIS CAUSE coming on to be heard and being heard before the undersigned upon

a motion filed by the defendant’s counsel entitled, “Motion to Continue Plea Hearing”. At

the call of this matter on for hearing, it appeared that the defendant was not present but was

represented by her attorney, Frank A. Abrams. The Government was represented by

Assistant United States Attorney, Donald Gast. At the hearing of the motion, Mr. Abrams

told the undersigned that after the defendant’s release from detention that she had

immediately begun inpatient treatment at a treatment facility. The treatment facility jealously

protects their patients and would not allow Mr. Abrams to even talk to the defendant. The

defendant will be in the treatment center for a period of twenty-eight days and is expected

to be released on September 25th . The defendant was in detention for a period of almost two

months waiting to attend the Jail Based Inpatient Treatment Program which could not be

accomplished. Mr. Gast, on behalf of the government, advised that he had no objection to

continuing the matter based upon the reasons as stated by the defendant’s counsel. The

undersigned consulted with the office of United States District Judge Lacy Thornburg to

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make a determination whether or not granting a continuance would disrupt the trial calendar

for the session of District Court slated for September.      After consulting with Judge

Thornburg’s office, the undersigned determined that good cause had been shown for the

granting of the motion.

                                        ORDER

       IT IS THEREFORE ORDERED:

       1.     That the motion of the defendant entitled, “Motion to Continue Plea Hearing”

is hereby ALLOWED and is to be set for a time after September 25, 2006.

       2.     That defendant’s counsel is directed to file a motion with Judge Thornburg

requesting that the defendant’s case be continued from the September 2006 trial calendar.




                                            Signed: September 5, 2006




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